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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 MICHAEL J. HOUSE,
                                           CASE NO. 2:19-CV-10586
       Plaintiff,

 v.
                                           JUDGE GERSHWIN A. DRAIN
 GENERAL ELECTRIC CO., ET AL.,
                                           MAGISTRATE JUDGE
                                           STEPHANIE DAWKINS DAVIS
       Defendants.



 STIPULATED DISMISSAL OF DEFENDANT H. LAWRENCE CULP, JR.
                    WITH PREJUDICE


      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and

the stipulation of the parties, as evidenced below by the signatures of Plaintiff

Michael J. House and counsel for Defendants, Plaintiff dismisses this action in its

entirety with prejudice as against Defendant H. Lawrence, Culp, Jr. (“Culp”), each

party to bear its own costs. This Stipulated Dismissal applies only to Defendant

Culp and does not apply to Defendant General Electric Co.


Dated: October 28, 2019

SO ORDERED.

Dated: October 30, 2019                     s/Gershwin A. Drain
                                            U.S. District Judge
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 So stipulated:

 /s/ Michael J. House                /s/ Julia T. Stuebing

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                                     Counsel for Defendant H. Lawrence
                                     Culp, Jr. and Defendant General
                                     Electric Co.




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this 29th day of October, 2019, the

foregoing document was e-mailed to Teresa_mcgovern@mied.uscourts.gov and

that Pro Se Plaintiff House was served by email and U.S. Mail as set forth below:

            Michael J. House
            27855 California Dr. NW
            Lathrup Village, MI 48076
            Thinkbig.mh@gmail.com
                                            /s/ Julia T. Stuebing
                                            _______________________
                                            Julia T. Stuebing




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